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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                   AUGUSTA DIVISION

   IN RE:                                        ) CASE NO. 18-11593-SDB
                                                 )
   CARL LINWOOD DEDNAM, SR.,                     ) CHAPTER 13
                                                 )
            Debtor.                              )
                                                 )
                                                 )
   U.S. BANK TRUST N.A., AS TRUSTEE              )
   OF THE SCIG SERIES III TRUST,                 )
                                                 )
            Movant,                              ) CONTESTED MATTER
                                                 )
   vs.                                           )
                                                 )
   CARL LINWOOD DEDNAM, SR., and                 )
   HUON LE, Trustee,                             )
                                                 )
            Respondents.                         )
                                                 )

                            MOTION FOR RELIEF FROM STAY
                               AND FOR IN REM RELIEF
            COMES NOW, U.S. Bank Trust N.A., as Trustee of the SCIG Series III Trust,

   c/o BSI Financial Services, its servicing agent ("Movant"), and hereby shows this Court

   the following:

                                                1.

            Pursuant to 11 U.S.C. Section 362(d) and Fed. R. Bankr. P. 4001, Movant seeks

   an order that modifies the automatic stay, and that grants in rem relief, for purposes of

   allowing it to enforce its security interest in certain real property of the estate, commonly

   known as 2339 Moncrieff St., Augusta, GA 30906 (“Real Property”), in accordance with

   the terms of a certain security deed and with applicable non-bankruptcy law.
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                                                 2.

          Debtor filed the above-styled Chapter 13 on November 5, 2018, and said matter is

   pending before this Court.

                                                 3.

          Movant holds a claim secured by the Real Property. True and correct copies of

   the subject loan documents are collectively attached hereto as Exhibit “A” and

   incorporated herein by reference ("Loan Documents").

                                                 4.

          Debtor is post-petition delinquent as follows:

          2 Payments Due: 12/01/2018 - 01/01/2019 @ $868.80 each = $1,737.60

                                                                   Total: $1,737.60

                                                 5.

          Movant is not adequately protected.

                                                 6.

          Per Debtor's Schedule A, the value of the Real Property is approximately

   $88,742.00. As of December 23, 2018, the payoff on the subject loan was approximately

   $143,577.04, with an unpaid principal balance of $99,137.27.

                                                 7.

          The Real Property is not necessary for an effective reorganization, and a viable

   reorganization is not in prospect.

                                                 8.

          Debtor has demonstrated a clear inability to successfully reorganize, and this

   inability warrants the lifting of the automatic stay.

                                                 9.

          The above-styled bankruptcy case is the fourth bankruptcy filed by Debtor

   involving the Real Property. The prior cases were as follows:
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                 1) 15-10526-SDB, Chapter 13 filed on April 3, 2015, and
          dismissed on September 14, 2017 (failure to comply with court order);
                 2) 14-12264-SDB, pro se Chapter 13 filed on December 2, 2014,
          and voluntarily dismissed on December 30, 2014; and
                 3) 11-11162-SDB, Chapter 13 filed on June 7, 2011, and
          discharged on February 12, 2015.

                                              10.

          Debtor filed the current bankruptcy in bad faith and as a continuation of his

   attempts to hinder and delay Movant’s efforts to obtain possession of the Real Property.

   Accordingly, Movant seeks in rem relief as to any future bankruptcies filed by Debtor

   and/or any third parties for a period of two years pursuant to 11 U.S.C. Section 362(d)(4)

   such that the automatic stay shall not apply to the Real Property during this two year

   period..

                                              11.

          Movant has incurred $850.00 in attorney’s fees and $181.00 costs in bringing this

   Motion and is entitled to reimbursement for same pursuant to the Loan Documents.

          WHEREFORE, Movant prays that this Court, after notice and a hearing:

                 a) Waive the stay set forth in FBR 4001(a)(3);
                 b) Terminate and modify the automatic stay to permit Movant to
                 enforce its security interest in the Real Property in accordance with
                 the terms of the subject security deed and applicable non-
                 bankruptcy law, including, but not limited to, conducting a
                 foreclosure sale, seeking confirmation thereof in order to pursue
                 any deficiency, and seeking possession of the Real Property
                 pursuant to the laws of the State of Georgia. However, Movant
                 and/or its successors and assigns may offer, provide, and enter into
                 a potential forbearance agreement, loan modification, refinance
                 agreement, short sale, deed in lieu of foreclosure, or any other type
                 of loan workout/loss mitigation agreement. Movant may contact
                 the Debtor via telephone or written correspondence to offer any
                 such agreement;
                 c) Grant in rem relief regarding the Real Property via an order that
                 shall be binding in any other case filed by the Debtor and/or any
                 other party purporting to affect the Real Property, for a period of
                 two years pursuant to 11 U.S.C. Section 362(d)(4) such that the
                 automatic stay and co-debtor shall not apply to the Real Property
                 during this two year period;
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                d) Award $850.00 for the attorney’s fees and $181.00 costs
                incurred by Movant in bringing the Motion; and
                e) Grant such other and further relief as this Court deems just,
                necessary, and proper.
                th
         This 10 day of January, 2019.

                                                   Prepared By:
                                                   Attorney for Movant

                                                   /s/ Marc E. Ripps
                                                   Marc E. Ripps
                                                   Georgia Bar No. 606515
   P.O. Box 923533
   Norcross, Georgia 30010-3533
   (770) 448-5377
   Email: meratl@aol.com
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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                   AUGUSTA DIVISION

   IN RE:                                       ) CASE NO. 18-11593-SDB
                                                )
   CARL LINWOOD DEDNAM, SR.,                    ) CHAPTER 13
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            Debtor.                             )
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   U.S. BANK TRUST N.A., AS TRUSTEE             )
   OF THE SCIG SERIES III TRUST,                )
         Movant,                                ) CONTESTED MATTER
                                                )
   vs.                                          )
                                                )
   CARL LINWOOD DEDNAM, SR., and                )
   HUON LE, Trustee,                            )
                                                )
            Respondents.                        )
                                                )

                               CERTIFICATE OF SERVICE

           This is to certify that I served the parties listed below with a copy of the Motion
   for Relief from Stay and for In Rem Relief, of the Notice of Hearing on Motion for Relief
   from Stay, and of the Proposed Order on Motion for Relief from Stay by, unless
   otherwise noted, depositing a true and correct copy of each with the United States Postal
   Service with sufficient postage affixed thereto to insure first class delivery:

   Huon Lee, Esq.
   Chapter 13 Trustee
   Via Electronic Notice

   Angela Williams Seymour, Esq.
   Attorney for Debtor
   Via Electronic Notice
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   Carl Linwood Dednam, Sr.
   2339 Moncrieff St.
   Augusta, GA 30906
          th
   This __ day of January, 2019.



                                       /s/ Marc E. Ripps
                                       Marc E. Ripps
                                       Georgia Bar No. 606515

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   Norcross, GA 30010-3533
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